Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 1 of 52 PageID #: 111




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 STATE OF MISSOURI,
 STATE OF NEBRASKA,
 STATE OF ARKANSAS,
 STATE OF KANSAS,
 STATE OF IOWA,
 STATE OF WYOMING,                              No. 4:21-cv-01329
 STATE OF ALASKA,
 STATE OF SOUTH DAKOTA,
 STATE OF NORTH DAKOTA, and
 STATE OF NEW HAMPSHIRE,

                 Plaintiffs,

    v.

 JOSEPH R. BIDEN, Jr.,
 in his official capacity as the President of
 the United States of America, et al.,

                 Defendants.



                 PLAINTIFF STATES’ MEMORANDUM IN SUPPORT
                  OF MOTION FOR PRELIMINARY INJUNCTION
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 2 of 52 PageID #: 112




                                                      TABLE OF CONTENTS
TABLE OF AUTHORITIES ......................................................................................................... iii
INTRODUCTION .......................................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................. 2
   A.         The Healthcare Worker Shortage Crisis in the Plaintiff States........................................... 2
   B.         President Biden’s September 9, 2021 Speech Announcing Vaccine Mandates. ................ 4
   C.         CMS’s November 5, 2021 Vaccine Mandate. .................................................................... 5
   D.         The CMS Vaccine Mandate’s Commandeering of the States. ........................................... 7
   E.         The CMS Vaccine Mandate’s Disruptive Impact on Healthcare........................................ 8
ARGUMENT ................................................................................................................................ 15
   I.         The Plaintiff States Are Likely To Succeed on the Merits of Their Claims. .................... 15
         A.        The CMS Vaccine Mandate Is Arbitrary and Capricious in Violation of the APA. .. 15
         B.    The CMS Vaccine Mandate Exceeds Statutory Authority And Is Not In Accordance
         With Law. ............................................................................................................................. 23
              1.      The mandate exceeds CMS’s statutory authority. .................................................. 23
              2.    The Mandate conflicts with 42 U.S.C. § 1395 by authorizing CMS officials to
              control the selection of healthcare workers. ..................................................................... 27
         C.     The CMS Vaccine Mandate Unconstitutionally Infringes on the Authority of the
         States and Exceeds Congress’s Enumerated Powers. ........................................................... 28
         D.   The CMS Vaccine Mandate Violates Procedural Notice-and-Comment and State-
         Consultation Requirements. .................................................................................................. 31
         E.    CMS Failed to Prepare the Regulatory Impact Analysis Required Under 42 U.S.C. §
         1302. 36
   II.        The Balancing of Harms and the Public Interest Support an Injunction. ......................... 37
         A.    The States Face Irreparable Harm to Their Sovereign, Quasi-Sovereign, and
         Proprietary Interests. ............................................................................................................. 38
         B.        The Balance of Harms and The Public Interest Support an Injunction. ..................... 40
CONCLUSION ............................................................................................................................. 42
CERTIFICATE OF SERVICE ..................................................................................................... 45




                                                                         ii
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 3 of 52 PageID #: 113




                                               TABLE OF AUTHORITIES

Cases

Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs.,
  141 S. Ct. 2485 (2021) ........................................................................................................ 24, 26

Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,
  458 U.S. 5927 (1982 ................................................................................................................. 39

Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy,
  548 U.S. 291 (2006) .................................................................................................................. 30

Ashley Cty. Med. Ctr. v. Thompson,
  205 F. Supp. 2d 10267 (E.D. Ark. 2002 ................................................................................... 36

Bennet v. Spear,
  520 U.S. 154 (1997) .................................................................................................................. 15

Bond v. United States,
  572 U.S. 844 (2014) .................................................................................................................. 24

Coalition for Economic Equity v. Wilson,
  122 F.3d 718 (9th Cir. 1997) .................................................................................................... 39

Dataphase Sys., Inc. v. C.L. Sys., Inc.,
  640 F.2d 109 (8th Cir. 1981) (en banc ...................................................................................... 15

Dep’t of Homeland Sec. v. Regents of the Univ. of California,
  140 S. Ct. 1891 (2020) ...................................................................................... 16, 19, 20, 22, 37

FCC v. Prometheus Radio Project,
  141 S. Ct. 1150 (2021) .............................................................................................................. 16

Gregory v. Ashcroft,
  501 U.S. 452 (1991) ............................................................................................................ 24, 42

Gustafson v. Alloyd Co.,
  513 U.S. 5615 (1995 ................................................................................................................. 26

Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin.,
   407 F.3d 12509 (D.C. Cir. 2005 ............................................................................................... 32

Jacobson v. Massachusetts,
  197 U.S. 11 (1905) ........................................................................................................ 20, 24, 29

Kai v. Ross,
  336 F.3d 650 (8th Cir. 2003) .................................................................................................... 39



                                                                    iii
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 4 of 52 PageID #: 114




League of Women Voters of United States v. Newby,
  838 F.3d 1 (D.C. Cir. 2016) ...................................................................................................... 41

Mack Trucks, Inc. v. E.P.A.,
 682 F.3d 87 (D.C. Cir. 2012) .................................................................................................... 32

Maine Cmty. Health Options v. United States,
 140 S. Ct. 1308 (2020) .............................................................................................................. 36

Maryland v. King,
 567 U.S. 1301 (2012) ................................................................................................................ 39

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.Co.,
 463 U.S. 29 (1983) ........................................................................................................ 16, 20, 22

N.Y. Progress & Prot. PAC v. Walsh,
  733 F.3d 483 (2d Cir. 2013)...................................................................................................... 41

Nat’l Highway Traffic Safety Admin.,
  894 F.3d 95 (2d Cir. 2018)........................................................................................................ 32

New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co.,
  434 U.S. 1345 (1977) ................................................................................................................ 39

New York v. United States,
  505 U.S. 1448 (1992 ................................................................................................................. 28

Nken v. Holder,
  556 U.S. 418 (2009) .................................................................................................................. 40

Nw. Airlines, Inc. v. Goldschmidt,
 645 F.2d 1309 (8th Cir. 1981) .................................................................................................. 32

Panama Ref. Co. v. Ryan,
  293 U.S. 388 (1935) .................................................................................................................. 27

NFIB v. Sebeliu,
  567 U.S. 519 (2012 ...................................................................................................... 29, 30, 31

Planned Parenthood of Greater Texas Surgical Health Servs. v. Abbott,
  734 F.3d 406 (5th Cir. 2013) .................................................................................................... 39

Printz v. United States,
  521 U.S. 8983 (1997 ................................................................................................................. 29

Roman Cath. Diocese of Brooklyn v. Cuomo,
  141 S. Ct. 63 (2020) .................................................................................................................. 28




                                                                    iv
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 5 of 52 PageID #: 115




Pennhurst State Sch. & Hosp. v. Halderman,
  451 U.S. 17 (1981 ..................................................................................................................... 30

Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Engineers,
  531 U.S. 159 (2001) .................................................................................................................. 24

Soucie v. David,
  448 F.2d 1067 (D.C. Cir. 1971) ................................................................................................ 15

Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994) .................................................................................................................. 40

United States v. Brewer,
  766 F.3d 884 (8th Cir. 2014) ........................................................................................ 33, 34, 37

Watkins Inc. v. Lewis,
 346 F.3d 841 (8th Cir. 2003) .................................................................................................... 15

Whitman v. Am. Trucking Ass’ns,
 531 U.S. 457 (2001) .................................................................................................................. 24

Statutes

5 U.S.C. § 553(b) .......................................................................................................................... 32

5 U.S.C. § 553(b)(B) (A................................................................................................................ 32

5 U.S.C. § 553(b)–(c) ................................................................................................................ 5, 31

5 U.S.C. § 553(b)–(c) (APA) ........................................................................................................ 18

5 U.S.C. § 706(2)(A)..................................................................................................................... 16

5 U.S.C. § 706(2)(A), (C) ............................................................................................................. 23

42 U.S.C. § 1395hh(b)(2) ............................................................................................................. 32

42 U.S.C. § 1302 ........................................................................................................................... 36

42 U.S.C. § 1302(a) ................................................................................................................ 23, 25

42 U.S.C. § 1302(b)(1) ........................................................................................................... 36, 37

42 U.S.C. § 1395 ..................................................................................................... 5, 18, 34, 35, 36

42 U.S.C. § 1395 ........................................................................................................................... 23

42 U.S.C. § 1395 ........................................................................................................................... 27



                                                                      v
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 6 of 52 PageID #: 116




42 U.S.C. § 1395 ........................................................................................................................... 27

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395 ........................................................................................................................... 28

42 U.S.C. § 1395eee(f) ................................................................................................................. 26

42 U.S.C. § 1395hh(a)(1) ........................................................................................................ 23, 25

42 U.S.C. § 1395hh(b)(1) ................................................................................................... 5, 18, 31

42 U.S.C. § 1395i–3...................................................................................................................... 35

42 U.S.C. § 1395i–3(d)(4)(B) ....................................................................................................... 26

42 U.S.C. § 1395i–4(e............................................................................................................. 25, 35

42 U.S.C. § 1395k(a)(2)(F)(i) ................................................................................................. 26, 35

42 U.S.C. § 1395rr(b)(1)(A........................................................................................................... 25

42 U.S.C. § 1395x(aa)(2)(K) ........................................................................................................ 26

42 U.S.C. § 1395x(cc)(2) .............................................................................................................. 35

42 U.S.C. § 1395x(cc)(2)(J).......................................................................................................... 26

42 U.S.C. § 1395x(dd)(2) ............................................................................................................. 35

42 U.S.C. § 1395x(dd)(2)(g) ......................................................................................................... 26

42 U.S.C. § 1395x(e)(9).......................................................................................................... 26, 35

42 U.S.C. § 1395x(ff)(3)(B) ......................................................................................................... 26

42 U.S.C. § 1395x(iii)(3)(D)(i)(IV ............................................................................................... 25

42 U.S.C. § 1395x(j) ..................................................................................................................... 35

42 U.S.C. § 1395x(mm)(1) ........................................................................................................... 35



                                                                      vi
  Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 7 of 52 PageID #: 117




42 U.S.C. § 1395x(o)(6) ......................................................................................................... 26, 35

42 U.S.C. § 1395x(p) .................................................................................................................... 26

42 U.S.C. § 1396d(d)(1 ................................................................................................................. 25

42 U.S.C. § 1396d(h)(1)(B)(i) ...................................................................................................... 25

42 U.S.C. § 1396r(d)(4)(B) (same) ............................................................................................... 26

5 U.S.C. § 706(2)(D)..................................................................................................................... 31

5 U.S.C. §§ 701–706 ....................................................................................................................... 1

Ark. Code § 11-5-118 ................................................................................................................... 38

Ark. Code § 20-7-143 ................................................................................................................... 38

42 U.S.C. § 1395x ......................................................................................................................... 27

Mo. Rev. Stat. § 67.265 ................................................................................................................ 38

U.S. Const. amend X..................................................................................................................... 28

U.S. Const. art. I, § 8, cl. ............................................................................................................... 29

Regulations

Medicare and Medicaid Programs; COVID-19 Vaccine Requirements for Long-Term Care
 (LTC) Facilities and Intermediate Care Facilities for Individuals With Intellectual Disabilities
 (ICFs-IID) Residents, Clients, and Staff,
 86 Fed. Reg. 26306-01 (May 13, 202 ....................................................................................... 19

Medicare and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination.,
 ” 86 Fed. Reg. 61,555 (Nov. 5, 2021 ......................................................... 2, 5, 6, 17, 18, 19, 21

Mo. Code Regs. Ann. tit. 19, § 30-82.010 .................................................................................... 12

Other Authorities

86 Fed. Reg. .......................................................................... 7, 8, 22, 23, 25, 27, 29, 33, 35, 36, 40




                                                                     vii
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 8 of 52 PageID #: 118




                                        INTRODUCTION

       Plaintiffs, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire, challenge the Centers for Medicare and

Medicaid Services’ (“CMS”) Interim Final Rule with Comment Period (“IFC”) entitled “Medicare

and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination.” 86 Fed. Reg.

61,555 (Nov. 5, 2021). That IFC, also referred to as the “CMS vaccine mandate,” “CMS mandate,”

or “mandate,” imposes an unprecedented federal vaccine mandate on nearly every employee,

volunteer, and third-party contractor working at a wide range of healthcare facilities.

       This mandate threatens to exacerbate an alarming shortage of healthcare workers, parti-

cularly in rural communities, that has already reached a crisis point. Indeed, the circumstances in

the Plaintiff States—facts that CMS, which skipped notice-and-comment rulemaking, did not

meaningfully consider—foreshadow an impending disaster in the healthcare industry. By ignoring

the facts on the ground and unreasonably dismissing concerns about workforce shortages, the CMS

vaccine mandate jeopardizes the healthcare interests of rural Americans.

       This mandate is unlawful for at least five reasons. First, it is arbitrary and capricious under

the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701–706. Second, it exceeds CMS’s

statutory authority and conflicts with law. Third, it violates the U.S. Constitution. Fourth, it

violates numerous procedural requirements of the APA and the Social Security Act. And fifth,

CMS failed to prepare a required regulatory impact analysis (“RIA”) on the impact the IFC will

have on the operations of Plaintiff States’ small rural hospitals. Because the CMS mandate is

unlawful, and because it threatens to devastate healthcare throughout the country, the Court should

enjoin it pending final resolution on the merits.




                                                    1
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 9 of 52 PageID #: 119




                                    STATEMENT OF FACTS

       A.      The Healthcare Worker Shortage Crisis in the Plaintiff States.

       “[C]urrently there are endemic staff shortages,” CMS admits, “for almost all categories of

employees at almost all kinds of health care providers and supplier[s].” 86 Fed. Reg. at 61,607.

“1 in 5 hospitals,” CMS notes, “report that they are currently experiencing a critical staffing

shortage.” Id. at 61,559. In addition, “approximately 23 percent of [long-term-care] facilities

report[] a shortage in nursing aides; 21 percent report[] a shortage of nurses; and 10 to 12 percent

report[] shortages in other clinical and non-clinical staff categories.” Id. It is thus not surprising,

CMS relayed, that “[o]ver half (58 percent) of nursing homes participating in a recent survey . . .

indicated that they are limiting new admissions due to staffing shortages.” Id.

       The Plaintiff States’ experience confirms this. Healthcare facilities through the Plaintiff

States affirm that they have been and still are experiencing serious workforce shortages. See, e.g.,

Strong Decl. ¶ 4 (Ex. F); Kahl Decl. ¶ 7 (Ex. Q); McNea Decl. ¶ 9 (Ex. S); Barber Decl. ¶ 11 (Ex.

N); Mazanec Decl. ¶ 11 (Ex. R); Glaubke Decl. ¶ 11 (Ex. U); Sroczynski Decl. ¶¶ 4–7 (Ex. T);

Johansson Decl. ¶¶ 2, 5–6 (Ex. DD). A recent study shows that 97 of Missouri’s 114 counties

have a nursing shortage. Lori Schneidt, Anne Heyen & Tracy Greever-Rice, Show Me the Nursing

Shortage: Location Matters in Missouri Nursing Shortage, 12 J. Nursing Reg. 52 (2021). In

addition, staff nurse turnover in Missouri is the highest it has been in 20 years. See Missouri

Hospital      Association,      2021       Workforce        Report      (2021),      available      at

https://www.mhanet.com/mhaimages/Workforce/2021/2021_WF_report.pdf. Thus, to fill open

positions, there has been a boom in demand for travel nurses, but this further harms small rural

hospitals that cannot afford to pay their nurses more to stay and cannot afford the exorbitant rates

of travel nurses. See Leticia Miranda, Rural hospitals losing hundreds of staff to high-paid




                                                  2
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 10 of 52 PageID #: 120




traveling nurse jobs (Sept. 15, 2021), https://www.nbcnews.com/business/business-news/rural-

hospitals-losing-hundreds-staff-high-paid-traveling-nurse-jobs-n1279199.

       The staffing shortages have gotten so bad that it has prompted emergency measures by

state officials. Just a few months ago, on August 27, 2021, Missouri Governor Michael L. Parson

signed Executive Order 21-09 declaring a targeted State of Emergency for Missouri’s healthcare

system. Mo. Exec. Order 21-09 (Aug. 27, 2021), available at https://www.sos.mo.gov/library/

reference/orders/2021/eo9 (last visited Nov. 8, 2021). The Order, which remains in effect until

December 31, 2021, declared that “a state of emergency exists relative to staff shortages in the

State’s healthcare system and the State’s recovery efforts from the COVID-19 public health

threat.” Id. (emphasis added). Likewise, on August 26, 2021, Nebraska Governor Pete Ricketts

issued Executive Order No. 21-12 declaring that “Nebraska hospitals, clinics, and other health care

facilities are facing a shortage of health care professionals” and that “a hospital capacity emergency

exists.” Neb. Exec. Order 21-12 (Aug. 26, 2021), available at https://www.dropbox.com/s/

sm3dpu7t094ymum/Executive%20Order%2021-12%20-%20Additional%20Healthcare%20

Workforce%20Capacity.pdf?dl=0. Governor Ricketts issued the order, which temporarily waived

certain regulations governing healthcare workers and which remains in effect until December 31,

2021, to “protect[] the citizens of Nebraska from the public health threat of a hospital capacity and

workforce emergency.” Id. In addition, on September 21, 2021, Wyoming Governor Mark

Gordon activated the Wyoming National Guard to provide temporary assistance to healthcare

facilities throughout Wyoming. Governor Gordon called approximately 97 soldiers to provide

additional staffing for “Wyoming hospitals, long term care facilities, and public health departments

statewide.” Johansson Decl. ¶ 3 (Ex. DD).




                                                  3
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 11 of 52 PageID #: 121




       B.      President Biden’s September 9, 2021 Speech Announcing Vaccine Mandates.

       For the first six months of President Biden’s Administration, none of his agencies sought

to impose vaccine mandates on the American people. As recently as July 23, 2021, the White

House announced that mandating vaccines is “not the role of the federal government.” Press

Briefing by Press Secretary Jen Psaki (July 23, 2021), The White House, https://www.whitehouse.

gov/briefing-room/press-briefings/2021/07/23/press-briefing-by-press-secretary-jen-psaki-july-

23-2021/.

       Yet on September 9, 2021, amid flagging poll numbers due to the crisis in Afghanistan and

on the southern border, the Administration’s policy on federal vaccine mandates underwent a

dramatic about-face. That day, President Biden gave a speech announcing his six-point Plan to

“turn the tide on COVID-19.” Joseph Biden, Remarks at the White House (Sept. 9, 2021),

https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-

biden-on-fighting-the-covid-19-pandemic-3/ (“Biden Speech”). He announced the first plank of

his plan: to “require more Americans to be vaccinated.” Id. Toward that end, the President called

for several federal vaccine mandates—(1) a mandate from the Occupational Safety and Health

Administration (“OSHA”) for companies with more than 100 employees, (2) a mandate for federal

employees, (3) a mandate for employees of federal contractors and subcontractors, and (4) the

CMS vaccine mandate challenged here. Id. The stated purpose of these mandates was to increase

the number of vaccinated people by any coercive power available to the federal government. Id.

       President Biden also expressed a dismissive view of States that have used their

constitutionally guaranteed police powers to adopt contrary public-health policies. Id. He stated:

“Let me be blunt. My plan also takes on elected officials and states that are undermining . . . these




                                                 4
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 12 of 52 PageID #: 122




lifesaving actions.” Id. Speaking scornfully of “governor[s]” who oppose the new federal man-

dates, he promised that “if these governors won’t help us beat the pandemic, I’ll use my power as

President to get them out of the way.” Id.

       C.      CMS’s November 5, 2021 Vaccine Mandate.

       On November 5, 2021, nearly two months after President Biden announced his federal

vaccine mandates, CMS published the IFC challenged here. 86 Fed. Reg. 61,555. In creating that

rule, however, CMS did not comply with notice-and-comment requirements or consult with the

States. See 5 U.S.C. § 553(b)–(c) (APA requirements), 42 U.S.C. § 1395hh(b)(1) (Social Security

Act requirements), 42 U.S.C. § 1395z (“Secretary shall consult with appropriate State agencies”).

       CMS openly recognized that its action was unprecedented—never before had the agency

mandated vaccination. See, e.g., 86 Fed. Reg. at 61,567 (“We have not previously required any

vaccinations”); see also Compl. ¶ 121 (collecting other cites). CMS nevertheless took this action

to nationalize the COVID-19 vaccination response, explaining that “the inconsistent web of State,

local, and employer COVID-19 vaccination requirements have established a pressing need for a

consistent Federal policy mandating staff vaccination in health care settings.” 86 Fed. Reg. at

61,584. And the agency chose the draconian course of mandating vaccines because it determined

that the “most important inducement [for vaccination] will be the fear of job loss.” Id. at 61,607.

       The CMS vaccine mandate covers fifteen categories of Medicare- and Medicaid-certified

providers and suppliers, including Rural Health Clinics (“RHCs”), Critical Access Hospitals

(“CAHs”), other hospitals, Psychiatric Residential Treatment Facilities (“PRTFs”) for individuals

under age 21, and long-term-care (“LTC”) facilities. Id. at 61,556. By expanding its reach in this

way, the mandate broadly sweeps in a “diverse” set of healthcare providers. Id. at 61,602.




                                                 5
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 13 of 52 PageID #: 123




       CMS applies its vaccine mandate to practically every full-time employee, part-time worker,

trainee, student, volunteer, or third-party contractor working at covered facilities. The mandate

requires vaccination for all “facility staff”—a term that includes employees, trainees, students,

volunteers, and contractors—“who provide any care, treatment, or other services for the facility,”

“regardless of . . . patient contact.” Id. at 61,570 (emphasis added). This includes “administrative

staff” and “housekeeping and food services.” Id. CMS also imposed its mandate on “any

individual that . . . has the potential to have contact with anyone at the site of care.” Id. at 61,571

(emphasis added). This includes “staff that primarily provide services remotely via telework” but

“occasionally encounter fellow staff . . . who will themselves enter a health care facility.” Id. at

61, 570. Illustrating its breadth, the mandate also covers a “crew working on a construction project

whose members use shared facilities (restrooms, cafeteria, break rooms) during their breaks[.]”

Id. at 61,571. CMS allows exemptions only to the extent necessary to “comply with applicable

Federal anti-discrimination laws and civil rights protections,” such as medical exemptions required

by the Americans with Disabilities Act (“ADA”) and religious exemptions required by Title VII

of the Civil Rights Act of 1964. Id. at 61,568.

       Recognizing the mandate’s breadth, CMS acknowledges its “near-universal applicability”

to health-care staff and its demand that “virtually all health care staff in the U.S. [must] be

vaccinated for COVD-19.” Id. at 61,573. CMS estimates that approximately 10.3 million

employees will fall under the mandate. Id. at 61,603.

       CMS expressly rejected the option of allowing workers to undergo “daily or weekly

[COVID-19] testing” instead of mandatory vaccination, and it did so for only one reason: because

the agency believes that “vaccination is a more effective infection control measure” than regular

testing. Id. at 61,614.




                                                  6
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 14 of 52 PageID #: 124




        CMS was “aware of concerns about health care workers choosing to leave their jobs rather

than be vaccinated” and knew that “there might be a certain number of health care workers who

choose to do so.” Id. at 61,569. But CMS dismissed these concerns because “there is insufficient

evidence to quantify” that risk and balance it against others. Id. Instead, based on the experiences

of a few private healthcare facilities that implemented vaccine mandates in mostly urban areas,

CMS optimistically “believe[d] that the COVID-19 vaccine requirements . . . will result in nearly

all health care workers being vaccinated.” Id. (emphasis added); see also id. at 61,609 (finding

that only a “relatively small fraction” of turnover “will be due to vaccination”).

        The IFC was immediately effective on November 5, 2021—the day it was published. Id.

at 61,555. Covered providers must implement the vaccine mandate in two 30-day phases. Id. at

61,571. Phase 1 requires staff to receive the first vaccine dose or request a medical or religious

exemption by December 6, 2021. Id. And Phase 2 mandates that non-exempt staff be fully vacci-

nated by January 4, 2022. Id. Covered healthcare providers that do not comply are subject to

termination of their Medicare/Medicaid provider agreement. Id. at 61,574; see also Compl. ¶ 127

(citing other support). Because the decision to get vaccinated must occur by December 6, the

Plaintiff States need relief before that date.

        D.      The CMS Vaccine Mandate’s Commandeering of the States.

        The CMS mandate overrides state laws and commandeers state officials at every turn. The

agency repeatedly says that it intends for the mandate to preempt any arguably inconsistent state

and local laws. See, e.g., 86 Fed. Reg. at 61,568 (“We intend . . . that this nationwide regulation

preempts inconsistent State and local laws”); see also Compl. ¶ 121 (collecting cites).

        CMS also requires “State-run facilities that receive Medicare and Medicaid funding” to

enforce and administer the vaccine mandate by “imposing [it] on their employees.” 86 Fed. Reg.




                                                 7
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 15 of 52 PageID #: 125




at 61,613. This includes complying with overbearing record-keeping obligations, such as “track-

ing [the] vaccination status” of staff who are not covered by the mandate, and documenting the

“vaccination status of any staff who have obtained any booster doses” even though the mandate

does not require boosters. Id. at 61,571. The Plaintiff States operate many state-run hospitals.

See, e.g., Huhn Decl. ¶¶ 3, 6–12, 15–18 (Ex. J); York Decl. ¶¶ 1–3 (Ex. B); Johansson Decl. ¶¶ 1–

2, 6 (Ex. DD); Kahl Decl. ¶¶ 8–10 (Ex. Q); White Decl. ¶¶ 3–4 (Ex. C); Ringling Decl. ¶ 3 (Ex.

CC); Jones Decl. ¶ 3 (Ex. AA).

       CMS additionally coopts “State surveyors . . . to assess compliance with” the mandate. 86

Fed. Reg. at 61,574. Those surveyors are employed by the States. See Bollin Decl. ¶ 5 (Ex. H);

Gayhart Decl. ¶ 3 (Ex. A); Wehbi Decl. ¶ 4 (Ex. BB). They must “review[] the entity’s records of

staff vaccinations” and “interview[] staff to verify their vaccination status.” 86 Fed. Reg. at

61,574. And they must “cite providers and suppliers when noncompliance is identified.” Id.

       E.      The CMS Vaccine Mandate’s Disruptive Impact on Healthcare.

       Vaccination rates, as CMS admits, “are disproportionately low among nurses and health

care aides” in rural locations and other “communities that experience social risk factors,” 86 Fed.

Reg. at 61,566, and “rural hospitals are having greater problems with employee vaccination . . .

than urban hospitals,” id. at 61,613. A recent survey also shows that a substantial portion of

“unvaccinated workers”—a whopping 72%—“say they will quit” rather than submit to a vaccine

mandate. Chris Isidore and Virginia Langmaid, 72% of unvaccinated workers vow to quit if

ordered to get vaccinated, CNN.com (Oct. 28, 2021), https://www.cnn.com/2021/10/28/business/

covid-vaccine-workers-quit/index.html. The confluence of these developments have created the

perfect storm for healthcare calamity in rural America.




                                                8
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 16 of 52 PageID #: 126




       Healthcare facilities throughout the Plaintiff States confirm this. The leadership at Calla-

way District Hospital—a Small Rural Hospital and Critical Access Hospital in Callaway,

Nebraska—is deeply distressed. Eggleston Decl. ¶¶ 1, 4–5 (Ex. L). Around 20 members of its

65-person staff are not vaccinated, and over half of those unvaccinated workers are nurses. Id. at

12, 14. Sadly, Callaway “project[s] [the] loss of approximately 30% of [its] staff” from the CMS

mandate—losses that “will almost certainly lead to closure of [the] facility” and “leave [that] rural

community without essential healthcare services.” Id. at ¶¶ 16–17.

       Likewise, Cherry County Hospital in rural Valentine, Nebraska fears that it will not survive

CMS’s mandate. Kellum Decl. ¶¶ 1, 4, 15 (Ex. P). Sixty-six of its 159 staff members are not

vaccinated, and the hospital projects that the mandate will force 50 of those 66 to leave their

positions. Id. at ¶¶ 11, 13–14. That will result in closing its dialysis and chemotherapy depart-

ments, dramatically reducing its ability to provide needed surgeries, and perhaps even shutting

down the hospital. Id. at ¶ 15. In the CEO’s words, “I cannot express the extent of what is about

to happen.” Id. at ¶ 16. Patients in that community “will not have the primary care services needed

to stay healthy,” and they “will not have the staff to care for them in an emergency.” Id.

       Similar evidence from Box Butte General Hospital, a Small Rural Hospital and Critical

Access Hospital in Alliance, Nebraska, illustrates the systemic staffing issues. Mazanec Decl. ¶¶

1, 4–5 (Ex. R). Box Butte has had open positions “since 2019 with no applications received” due

to “existing health care worker shortages” and “challenges of the rural location.” Id. at ¶ 11.

Currently, 42% of Box Butte’s 289 employees are unvaccinated, and those employees include

senior leadership, physicians, and nurses. Id. at ¶¶ 10, 12. The hospital expects “to lose 15 percent

of its total employees” from the CMS mandate, and those losses will “impact[] nearly all . . .

departments,” including emergency medicine. Id. at ¶ 13. Box Butte thus anticipates needing to




                                                 9
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 17 of 52 PageID #: 127




close departments, reduce services, and turn patients away. Id. at ¶ 14. And because the remaining

employees “will be forced to work extended hours,” this will feed a vicious cycle as they

“experience an even greater amount of burnout” and will be likely to “leave health care” altogether.

Id. at ¶ 15.

        Community Hospital—which is in rural McCook, Nebraska, serves people from Southwest

Nebraska and Northwest Kansas, and is 70 miles from the next closest facility providing similar

services—also faces severe consequences from the CMS mandate. Bruntz Decl. ¶¶ 1, 9–10 (Ex.

W). Seventy-eight of its 330 employees (24%) are unvaccinated, and 76 of the unvaccinated staff

“have indicated they will not or are seriously considering not receiving the vaccination.” Id. at ¶

13. The hospital thus expects that it will “lose well more than 10% of its staffing,” that its patients

“will be harmed” when the facility is “forced to limit or close services,” and that many of the

remaining vaccinated staff “will resign due to the stress and burn out that will inevitably exist.”

Id. at ¶¶ 14–16.

        The experience of Franciscan Care Services, a Small Rural Hospital and Critical Access

Hospital in Northeast Nebraska, illustrates the interconnectedness of the healthcare industry.

Toline Decl. ¶¶ 1, 4–5, 9 (Ex. Y). Just a few months ago, in June 2021, it experienced “increased

volumes” after the closure of a critical access hospital 15 miles away. Id. at ¶ 9. Now it fears for

the future since 23% of its staff are unvaccinated. Id. at ¶ 14. If it loses many of them as it expects,

Franciscan will need “to reduce services in the clinic” to provide care for “emergency patients.”

Id. at ¶ 15. In turn, “[e]mergency room patient volumes . . . will increase due to inability to care

for [patients] in the clinic setting.” Id.

        The leadership at a slightly larger hospital—Great Plains Health in North Platte,

Nebraska—is also troubled by the vaccine mandate. It has a total staff of 1,197, and 311 of them




                                                  10
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 18 of 52 PageID #: 128




are not vaccinated. McNea Decl. ¶¶ 1, 8, 10 (Ex. S). The hospital projects that it will “lose a high

percentage of these unvaccinated employees,” in addition to already having 231 vacancies. Id. at

¶¶ 9–10. Such losses, which would lead to “a dangerously reduced number of staffed ICU beds,”

would have “negative effects” on patients. Id. at ¶ 11. Great Plains also fears that it will “need to

close or reduce” its “behavioral health unit,” requiring it to send patients to a different facility that

“is nearly three hours away and itself facing staffing concerns.” Id. at ¶ 12.

        What’s more, Scotland County Hospital in Memphis, Missouri, a 25-bed, non-profit

Critical Access Hospital serving rural Northeast Missouri and Southeast Iowa, has “at least” five

essential workers in critical areas who have “stated emphatically they will not be vaccinated,” and

the hospital’s CEO believes the CMS vaccine mandate will cause these workers to quit or he’ll

have to fire them. The hospital has already “suffered staff resignations by 18%” during the

pandemic, and the loss of “additional employees will cause significant difficulty in the continued

quality and safe operations of SCH.” Tobler Decl. ¶¶ 1–2, 4, 6–7 (Ex. G).

        Evidence also shows that CMS’s mandate will have substantially negative effects on

hospitals with successful voluntary vaccination efforts. St. Anthony Regional Hospital, in rural

Carroll, Iowa, has about 87% of its 750-person staff vaccinated. Smith Decl. ¶¶ 3, 4, 6 (Ex. D).

But a recent survey of its unvaccinated employees shows that 40 employees are likely to resign

rather than comply with CMS’s mandate. Id. at ¶ 8. Given the hospital’s significant struggles

with filling and recruiting staff, the loss of 40 employees will force it “to evaluate the availability

of needed healthcare services to the people” it serves. Id. at ¶ 5, 9, 11.

        The mandate’s unsettling effects on the healthcare industry reach beyond rural hospitals to

skilled nursing and long-term-care (“LTC”) facilities. Many long-term-care facilities in Missouri

“have indicated that they would have to close their facilities” under the mandate. Strong Decl. ¶




                                                   11
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 19 of 52 PageID #: 129




6 (Ex. F). That “would displace thousands of residents across the state and affect the entire health

care system” by “inundat[ing] hospital capacity” and “leaving little room for others in the

community to receive the care they need.” Id.

       The Missouri Department of Health and Senior Services (“DHSS”) echoed these concerns

in a November 12, 2021 emergency amendment to Mo. Code Regs. Ann. tit. 19, § 30-82.010. See

Emergency Amendment, Missouri Department of Health and Senior Services (Nov. 12, 2021),

https://www.sos.mo.gov/CMSImages/AdRules/main/EmergenciesforInternet/19c30-

82.010IE.pdf. According to DHSS, approximately 44% of staff working at Missouri’s long-term-

care facilities are not fully vaccinated. Id. DHSS anticipates that “many of the [44%] of

unvaccinated staff working at these long term facilities will not choose to get vaccinated, even

with this vaccine mandate from CMS.” Id. DHSS thus predicts that because of the CMS vaccine

mandate, some long-term-care facilities—namely, skilled nursing facilities and intermediate care

facilities—“will not have enough staff to care for the residents in their facilities and be in

compliance with federal and state law.” Id. These facilities may be forced to temporarily close or

consolidate until the staffing shortages are fixed. Id. The emergency amendment thus creates a

temporary closure procedure for facilities should they need to “make plans to begin discharging

residents and pursing temporary closures before” CMS’s deadlines. Id.

       Specific examples throughout the Plaintiff States support these broader concerns about

long-term-care facilities. One troubling situation involves Kimball County Manor and Assisted

Living, a nursing home in rural Nebraska. Monheiser Decl. ¶ 1 (Ex. V). Of that facility’s 55

employees, 31 are unvaccinated, and at least 27 of them “have informed management that they

will resign or be terminated rather than be vaccinated.” Id. at ¶ 8. “Losing potentially 48% of [its]

workforce, including a substantial percentage of [its] already depleted nursing staff[,] will force”




                                                 12
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 20 of 52 PageID #: 130




the manor to reduce its services and transfer “current patients” to facilities further away. Id. at ¶

9. It will also jeopardize the manor’s “very existence.” Id. at ¶ 9. Fearing its impending doom,

the manor has already placed “a hold on admitting new patients in anticipation of [the] loss of

staff.” Id. at ¶ 7.

        A similar situation faces Monroe City Manor Care Center, a nursing home in Missouri. It

has an employee vaccination rate under 50%, and “[w]hen surveyed, a majority of the[] unvacci-

nated staff stated they would choose to leave healthcare completely over being forced to get [a]

covid-19 vaccine.” Vanlandingham Decl. ¶ 7 (Ex. E). That loss of 25% of its total staff “will

cause significant difficulty in the continued operation” of the facility. Id. at ¶ 8.

        Scotland County Care Center (“SCCC”), another nursing home in Missouri, is similarly

situated. SCCC, a political subdivision of the State of Missouri, derives 50% of its total operational

revenues from CMS, and is currently experiencing a shortage of nursing staff. This has already

led SCCC to contract-out nursing services at a substantial premium. And now, the CMS vaccine

mandate will cause SCCC to “lose more staff, struggle to fill those vacancy spots with agency

staffing, causing even more financial hardship.” Twenty out of 65 of SCCC’s employees are

“vehemently opposed to taking the vaccine and if the CMS mandate is indeed imposed, they will

quit working at SCCC.” “If that happens,” SCCC “will lose about 30% of [its] workforce”—a

loss that will cause SCCC to cease its operations. Schrage Decl. ¶¶ 1–2, 4–5, 7, 9 (Ex. I).

        Emerald Health Care, which operates four skilled nursing facilities throughout Nebraska,

anticipates that the CMS mandate will cause it to lose between 25% and 10% of its staff at each of

its locations. Sroczynski Decl. ¶¶ 4–7 (Ex. T). Considering that the staffing at these facilities is

already extremely deficient, Emerald’s long-term prospects are quite grim. Id. Even if it survives,

the mandate “will result in each [Emerald] facility turning away patients.” Id. at ¶ 8.




                                                  13
    Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 21 of 52 PageID #: 131




         State-run healthcare facilities will also be significantly impacted. The Alaska Psychiatric

Institute (“API”) estimates that “[d]espite the availability of medical and religious exemptions,” it

“is likely to lose approximately 20 employees (8% of [its] workforce) as a result of the vaccine

mandate.” York Decl. ¶ 9 (Ex. B). “Losing even 5% of its workforce would cause substantial

harm to API because it would be extremely difficult to fill those positions.” Id. at ¶ 10. Similarly,

37% of the staff at Arkansas’s seven state-run healthcare facilities are unvaccinated, and the State

“expects that the CMS vaccine mandate will result in increased staffing shortages” for those

providers. White Decl. ¶¶ 8–9 (Ex. C). South Dakota likewise expects staff loss at its state-run

psychiatric hospital and fears that it might result in “individuals needing emergency inpatient

psychiatric treatment [being] held in jail settings or emergency rooms until capacity is available.”

Ringling Decl. ¶¶ 3, 7–8 (Ex. CC).

         That the CMS mandate would ignite these healthcare catastrophes was not a secret. In

Missouri, for example, it has been publicly discussed and widely anticipated for the last few

months that vaccine mandates will prompt widespread resignations and intensify existing staffing

shortages in the healthcare sector—as healthcare facilities described their prospects under the

threatened mandate as “dangling by a thread.”1 National media also covered this issue. See, e.g.,

As Vaccine Deadlines Approach, Hospitals Fear Staffing Shortages Will Occur, NPR.org (Sept.

27,     2021),    https://www.npr.org/sections/coronavirus-live-updates/2021/09/27/1041047608/



1
  See, e.g., Emily Manley, Missouri Health Care Association says vaccine mandate will worsen
staffing shortage, Fox 2 News (Sept. 14, 2021), https://fox2now.com/news/missouri/missouri-
health-care-association-says-vaccine-mandate-will-worsen-staffing-shortage/; Allison Kite and
Tessa Weinberg, ‘Dangling by a thread’: Nursing home industry warns of staff exodus over
vaccine mandates, Missouri Independent (Sept. 15, 2021), https://missouriindependent.com/2021/
09/15/dangling-by-a-thread-nursing-home-industry-warns-of-staff-exodus-over-vaccine-
mandates/; Mike Stunson, Missouri hospital fears staff may quit over Biden vaccine mandate,
Kansas City Star (Oct. 14, 2021), https://www.kansascity.com/news/coronavirus/
article254948037.html.


                                                 14
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 22 of 52 PageID #: 132




vaccine-deadlines-hospitals-fear-staffing-shortages. All this shows that these adverse impacts,

especially in rural and underserved areas, have been widely anticipated for many weeks.

                                           ARGUMENT

       Courts consider four factors in determining whether to grant a preliminary injunction: “(1)

the likelihood of the movant’s success on the merits; (2) the threat of irreparable harm to the

movant in the absence of relief; (3) the balance between that harm and the harm that the relief

would cause to other litigants; and (4) the public interest.” Watkins Inc. v. Lewis, 346 F.3d 841,

44 (8th Cir. 2003) (citing Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981)

(en banc)). Here, all four factors favor Plaintiff States.

I.     The Plaintiff States Are Likely To Succeed on the Merits of Their Claims.

       The Plaintiff States are likely to succeed on the merits of their claims that (1) the CMS

vaccine mandate is arbitrary and capricious, (2) it exceeds CMS’s statutory authority and conflicts

with law, (3) it violates the Constitution, (4) it contravenes multiple procedural rulemaking require-

ments, and (5) CMS failed to produce a required regulatory impact analysis.

       A.      The CMS Vaccine Mandate Is Arbitrary and Capricious in Violation of the
               APA.

       The CMS vaccine mandate is arbitrary and capricious under the APA. As an initial matter,

the APA undoubtedly applies to this case. The United States Department of Health and Human

Services (“HHS”), which delegated its authority to and acted through CMS, is a federal agency.

See Soucie v. David, 448 F.2d 1067, 1073 (D.C. Cir. 1971) (“[T]he APA . . . confers agency status

on any administrative unit with substantial independent authority in the exercise of specific

functions.”). And the IFC is final agency action because (1) it “mark[s] the consummation of the

agency’s decisionmaking process,” and (2) it is a pronouncement “by which rights or obligations

have been determined, or from which legal consequences will flow.” Bennet v. Spear, 520 U.S.



                                                  15
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 23 of 52 PageID #: 133




154, 177–78 (1997). Indeed, the IFC directly determines which healthcare facilities will be eligible

to receive Medicare and Medicaid funding. In CMS’s words, “[p]rovider and supplier compliance

with the Federal rules issued under these statutory authorities are mandatory for participation in

the Medicare and Medicaid programs.” 86 Fed. Reg. at 61,560.

       Under the APA, a court must “hold unlawful and set aside agency action” that is “arbitrary”

or “capricious.” 5 U.S.C. § 706(2)(A). “The APA’s arbitrary-and-capricious standard requires

that agency action be reasonable and reasonably explained.” FCC v. Prometheus Radio Project,

141 S. Ct. 1150, 1158 (2021). Courts must ensure that “the agency has acted within a zone of

reasonableness and, in particular, has reasonably considered the relevant issues and reasonably

explained the decision.” Id. “[T]he agency must examine the relevant data and articulate a

satisfactory explanation for its action including a ‘rational connection between the facts found and

the choice made.”’ Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.Co., 463

U.S. 29, 43 (1983). The arbitrary-and-capriciousness standard also requires the agency “to assess

whether there were reliance interests, determine whether they were significant, and weigh any such

interests against competing policy concerns.” Dep’t of Homeland Sec. v. Regents of the Univ. of

California, 140 S. Ct. 1891, 1915 (2020). Under these principles, the IFC establishing the CMS

vaccine mandate is arbitrary and capricious for at least seven reasons.

       First, CMS failed to reasonably explain its decision to impose its vaccine mandate despite

the alarming healthcare workforce shortages and the obvious risk that the mandate will exacerbate

an already unstable situation. In fact, CMS’s analysis goes a long way toward showing that the

vaccine mandate will indeed throw gasoline on the fire.

       CMS repeatedly admits that the current “endemic staff shortages” in the healthcare industry

“may be made worse if any substantial number of unvaccinated employees leave health care




                                                16
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 24 of 52 PageID #: 134




employment altogether.” 86 Fed. Reg. at 61,607; see also id. at 61,608 (“[T]here may be

disruptions in cases where substantial numbers of health care staff refuse vaccination and are not

granted exemptions and are terminated, with consequences for employers, employees, and

patients”); id. at 61,609 (“[I]t is true that compliance with this rule may create some short-term

disruption of current staffing levels for some providers or suppliers in some places.”). And CMS

went further by acknowledging that “[e]ven a small fraction” of unvaccinated healthcare workers

leaving their jobs “could disrupt facility operations.” Id. at 61,612.

       CMS also discussed facts showing that potential calamity awaits rural communities in

particular. For instance, CMS acknowledged that “vaccination rates are disproportionately low

among nurses and health care aides” in rural locations and other “communities that experience

social risk factors.” Id. at 61,566. And it admitted that “early indications are that rural hospitals

are having greater problems with employee vaccination . . . than urban hospitals.” Id. at 61,613.

       Despite these acknowledged concerns about intensifying an already-existing healthcare

crisis, CMS decided to move forward anyway. It did so because it thought that the unvaccinated

employees would get jobs in other healthcare positions, such as “physician and dental offices,”

that are not covered by the CMS vaccine mandate. Id. at 61,607. Yet this speculation does nothing

to abate the debilitating harm soon to be inflicted upon the healthcare facilities falling under this

mandate. Indeed, it does not suggest that the healthcare worker shortage will improve but only

that shortages will be further concentrated among the covered healthcare facilities.

       CMS also conjectured that staffing deficiencies at facilities covered by the mandate “might

be offset by persons returning to the labor market who were unwilling to work at locations where

some other employees are unvaccinated.” Id. at 61,607. This was pure speculation. CMS cited

no evidence that such vaccinated workers exist, and it strains credulity to suggest that they do. A




                                                 17
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 25 of 52 PageID #: 135




worker who harbors such fears would still have to regularly work with unvaccinated patients, and

it is irrational to assume that they would be willing to work with unvaccinated patients but not

unvaccinated coworkers.

       In the end, CMS dismissed the concerns about staffing because, it believed, “there is

insufficient evidence to quantify” those concerns and balance them against other risks. Id. at

61,569. Instead, based on the experiences of a few private healthcare facilities that implemented

vaccine mandates in mostly urban settings, which have much larger labor-market pools and higher

community vaccination rates, CMS optimistically “believe[d] that the COVID-19 vaccine

requirements . . . will result in nearly all health care workers being vaccinated.” Id. (emphasis

added). But CMS did not reference data on any past efforts to mandate COVID-19 vaccines in

rural areas. Making such a rosy across-the-board projection based on nothing more than the

experiences of a few cherry-picked healthcare providers is decidedly unreasonable.

       The arbitrariness is particularly apparent in CMS’s decision to act based on such scant and

inapposite anecdotes instead of soliciting public comment and state input, as applicable statutes

required the agency to do. See 5 U.S.C. § 553(b)–(c) (APA), 42 U.S.C. § 1395hh(b)(1) (Social

Security Act), 42 U.S.C. § 1395z (“Secretary shall consult with appropriate State agencies”).

Obtaining insight from those sources would have provided the agency with important information

on the looming healthcare disaster. Had CMS sought public comment, it would have heard about

countless situations like those recounted in the declarations supporting this motion (and in Section

E under the Statement of Facts above). With the fate of our strained national healthcare industry

hanging in the balance, it is the height of arbitrariness not to solicit input from key stakeholders.

       Despite the obvious concerns about the vaccine mandate upending significant sectors of

the healthcare industry, CMS remarkably concluded that existing staffing shortages are actually a




                                                 18
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 26 of 52 PageID #: 136




reason to impose the mandate. In CMS’s words, “the urgent need to address COVID-related

staffing shortages that are disrupting patient access to care[] provides strong justification as to the

need to issue this” mandate. 86 Fed. Reg. at 61,567. Because “unvaccinated staff” are purportedly

“at greater risk for infection” and “absenteeism,” CMS elaborated, allowing providers to continue

hiring them might “create staffing shortages.” Id. at 61,559. But this speculation irrationally

ignores the obvious: that maintaining a larger pool of potential workers, even if some might have

a bout with COVID-19, is better than categorically excluding an entire class of individuals. In

short, CMS’s discussion of the mandate’s projected effect on the existing healthcare crisis is

unreasonable from beginning to end.

        Second, CMS failed to consider the reliance interests of healthcare providers (including

state-run facilities) and healthcare workers. For years, CMS has had regulations setting the

conditions for Medicare and Medicaid participation. See id. at 61,555 (listing the regulations

amended by the IFC). Yet never before had CMS mandated any vaccines for staff members. And

six months ago, when CMS adopted an IFC requiring two groups of healthcare providers covered

by this mandate—long-term-care (“LTC”) facilities and Intermediate Care Facilities for

Individuals with Intellectual Disabilities (“ICFs-IID”)—to educate their staff on COVID-19

vaccines, it did not go so far as to mandate them. See Medicare and Medicaid Programs; COVID-

19 Vaccine Requirements for Long-Term Care (LTC) Facilities and Intermediate Care Facilities

for Individuals With Intellectual Disabilities (ICFs-IID) Residents, Clients, and Staff, 86 Fed. Reg.

26306-01 (May 13, 2021). So when CMS adopted the vaccine mandate, the agency was “not

writing on a blank slate,” and thus it needed to consider reliance interests. Regents, 140 S. Ct. at

1915.




                                                  19
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 27 of 52 PageID #: 137




       Many healthcare providers relied on CMS’s prior rules by hiring staff members regardless

of their vaccination status. See, e.g., McNea Decl. ¶ 9 (Ex. S); Naiberk Decl. ¶ 11 (Ex. M); Sharp

Decl. ¶ 12 (Ex. X); Kahl Decl. ¶ 13 (Ex. Q). In fact, Nebraska specifically sought out unvaccinated

applicants because the State’s executive-branch officials decided that they would not mandate

vaccination as a condition of working in state-run healthcare facilities. Kahl Decl. ¶ 13 (Ex. Q).

By relying on the then-existing regulations, many healthcare facilities assembled workforces

without concern for vaccination. But now those facilities stand to abruptly lose significant portions

of their staff because of CMS’s change in course. And the impact of that will reach far beyond the

providers themselves and directly harm the people in the communities they serve. CMS did not

discuss these reliance interests when adopting its mandate.

       Nor did CMS consider any of the reliance interests of healthcare workers. Those indivi-

duals have “embarked on careers” and taken jobs in reliance on the prior CMS rules. Regents, 140

S. Ct. at 1914. Now they stand to lose those jobs because of CMS’s mandate. And the conse-

quences of that would “radiate outward” to injure not only those workers’ families but also the

very people they once cared for. Id. “These are certainly noteworthy concerns,” and it was CMS’s

duty to consider them, “but the agency failed to do it.” Id. Ignoring these critical worker-focused

reliance interests violates the APA.

       Third, CMS completely “failed to consider” other “important aspects of the problem”

before it. Id. at 1910 (quoting State Farm, 463 U.S. at 43) (cleaned up). Critically, CMS did not

acknowledge that it was infringing on a well-established area of state sovereignty. “[T]he police

power of a state” includes the authority to adopt regulations seeking to “protect the public health,”

including the topic of mandatory vaccination. Jacobson v. Massachusetts, 197 U.S. 11, 24–25

(1905). Though these matters “do not ordinarily concern the national government,” id. at 38, CMS




                                                 20
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 28 of 52 PageID #: 138




never recognized that it was trampling on traditional State prerogatives and disrupting the existing

federal-state balance of authority. Instead, CMS made explicit its desire to override contrary state

law on vaccine issues. See, e.g., 86 Fed. Reg. at 61,568 (“We intend . . . that this nationwide

regulation preempts inconsistent State and local laws”).

       Fourth, CMS’s own discussion betrays the illogic of its refusal to exempt healthcare

workers who have been previously “infected by SARS-CoV-2” and thus have developed infection-

induced immunity, also called natural immunity. Id. at 61,614. The agency cast aside that option

because it perceives “uncertainties about [sic] as to the strength and length of [natural] immunity.”

Id. But CMS similarly acknowledges that vaccine “immunity decreases” over time “after the

primary vaccine series.” Id. at 61,562. And the agency elsewhere recognized the value of natural

immunity when it said that each day 100,000 people are “recover[ing] from infection,” that they

“are no longer sources of future infections,” and that their natural immunity “reduce[s] the risk to

both health care staff and patients substantially.” Id. at 61,604 (emphasis added). Simply put,

CMS’s inconsistencies on natural immunity demonstrate the unreasonableness of its decision.

       CMS also ignored key evidence indicating that natural immunity effectively guards against

the Delta variant. A widely publicized study of a large population of patients in Israel found that

vaccinated people who had not been previously infected had 13 times higher odds of experiencing

a breakthrough infection with the Delta variant than patients who had recovered from COVID but

were never vaccinated. Sevan Gazit et al., Comparing SARS-CoV-2 natural immunity to vaccine-

induced immunity: Reinfections versus breakthrough infections, medRxiv Preprint (2021),

https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1). It is unreasonable for CMS

to pretend that this evidence does not exist.




                                                 21
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 29 of 52 PageID #: 139




       Fifth, CMS’s pronouncement about the necessity of the vaccine mandate is an impermiss-

ible “post hoc rationalization.” Regents, 140 S. Ct. at 1908 (citation omitted). The agency did not

first identify the mandate as necessary to protect public health and then produce the rule. Rather,

the President directed CMS to impose the mandate as part of a comprehensive plan to federalize

the public-health response to COVID-19, and then the agency spent nearly two months reverse-

engineering a justification for it. Such post hoc rationalizations cannot satisfy APA review.

       Sixth, the exceedingly broad scope of healthcare providers covered by the CMS vaccine

mandate is arbitrary. The mandate reaches categories of healthcare facilities, such as Psychiatric

Residential Treatment Facilities (“PRTFs”) for individuals under age 21, see 86 Fed. Reg. at

61576, that are not related to CMS’s asserted interest in protecting elderly and infirm patients from

COVID-19. Indeed, CMS recognizes that “risk of death from infection from an unvaccinated 75-

to 84-year-old person is 320 times more likely than the risk for an 18- to 29-years old person.” Id.

at 61,610 n.247. CMS provides no reasoned explanation for this overbroad approach.

       Seventh, the vast range of workers, volunteers, and third-party contractors compelled by

the mandate is inexplicable. It applies to onsite “administrative staff” and “housekeeping and food

services” staff “regardless of . . . patient contact.” Id. at 61,570 (emphasis added). It also reaches

“any individual that . . . has the potential to have contact with anyone at the site of care.” Id. at

61,571 (emphasis added). This includes “staff that primarily provide services remotely via tele-

work” but “occasionally encounter fellow staff . . . who will themselves enter a health care

facility.” Id. at 61, 570. And the mandate also covers a third-party vendor’s “crew working on a

construction project whose members use shared facilities (restrooms, cafeteria, break rooms)

during their breaks.” Id. at 61,571. The sheer breadth of this mandate is far removed from the




                                                 22
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 30 of 52 PageID #: 140




purported purpose of protecting patient safety. For all these reasons, the CMS vaccine mandate is

arbitrary and capricious under the APA.

       B.      The CMS Vaccine Mandate Exceeds Statutory Authority And Is Not In
               Accordance With Law.

       Under the APA, a court must “hold unlawful and set aside agency action” that is “not in

accordance with law” or “in excess of statutory . . . authority[] or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(A), (C). The CMS vaccine violates this command in two ways. First,

the mandate exceeds statutory authority because the statutes that CMS cites do not support

imposing a vaccine mandate. Second, the mandate conflicts with 42 U.S.C. § 1395 by imper-

missibly authorizing CMS officials to control the selection of healthcare workers.

               1.      The mandate exceeds CMS’s statutory authority.

       CMS’s purported statutory authority for its vaccine mandate rests on two sets of laws. See

86 Fed. Reg. at 61,567. First, the agency relies on two statutes that give general rulemaking power

to HHS. See 42 U.S.C. § 1302(a) (“the Secretary of Health and Human Services . . . shall make

and publish such rules and regulations, not inconsistent with this Act, as may be necessary to the

efficient administration of the functions with which [he] is charged under this Act”); 42 U.S.C.

§ 1395hh(a)(1) (providing that the “Secretary shall prescribe such regulations as may be necessary

to carry out the administration of the insurance programs under” Title 18 of the Social Security

Act). Second, CMS invokes other more specific statutes that supposedly give it authority to

impose the mandate on the covered classes of healthcare facilities. 86 Fed. Reg. at 61,567.

       Before analyzing the statutory text, it is important to assess the magnitude of what CMS

has done. Amidst an ongoing political debate about whether governments should mandate

COVID-19 vaccines, President Biden announced that his administration would implement a slew

of them, including CMS’s mandate. See Biden Speech, supra. This is a brazen attempt to



                                                  23
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 31 of 52 PageID #: 141




federalize a national public-health response to COVID-19, and it is something that CMS admits it

has never done before. These statutes do not give CMS that kind of power.

       Start with three important background principles of statutory construction often referred to

as clear-statement rules. First, courts “expect Congress to speak clearly when authorizing an

agency to exercise powers of vast economic and political significance.” Alabama Ass’n of Realtors

v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per curiam); see also Whitman v.

Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001) (Congress does not “hide elephants in mouse-

holes”). Exercising power of vast economic and political significance is precisely what CMS has

done here. It seeks to settle a federal-state struggle on politically controversial public-health

matters by implementing a heavy-handed policy that threatens to inflict economic ruin on

significant segments of the healthcare industry.

       Second, “‘it is incumbent upon the federal courts to be certain of Congress’ intent before

finding that federal law overrides’ the ‘usual constitutional balance of federal and state powers.’”

Bond v. United States, 572 U.S. 844, 858 (2014) (quoting Gregory v. Ashcroft, 501 U.S. 452, 460

(1991)). CMS’s mandate seeks to usurp the police power of the States to “protect the public

health” by addressing mandatory vaccination—a topic that “do[es] not ordinarily concern the

national government.” Jacobson, 197 U.S. at 24–25, 38.

       Third, “[w]here an administrative interpretation of a statute invokes the outer limits of

Congress’ power,” courts “expect a clear indication that Congress intended that result.” Solid

Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Engineers, 531 U.S. 159, 172 (2001). As

explained in the constitutional argument below, affording a federal agency the power to mandate

vaccines reaches beyond even the outer limits of Congress’s power.




                                                   24
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 32 of 52 PageID #: 142




       For all these reasons, Congress must speak unambiguously to authorize CMS to mandate

vaccines. Yet it has not done so, as an examination of the relevant statutory texts demonstrates.

       Turning to that text, the two general rulemaking statutes that CMS invokes do not suffice.

Those statutes give CMS the authority to create regulations “necessary to the efficient

administration” of its functions, 42 U.S.C. § 1302(a), or “necessary to carry out the administration”

of Title 18 of the Social Security Act, 42 U.S.C. § 1395hh(a)(1). But CMS may exercise this

authority only if it is connected to a specific aspect of the agency’s duties. That is why CMS

attempts to tie each part of the vaccine mandate to a more specific statute. See 86 Fed. Reg. at

61,567. Thus, CMS’s supposed authority under these general statutes piggy-backs entirely on its

reliance on the more specific statutes. And those specific statutes do not grant CMS the power it

has exercised here.

       The specific statutes are best divided into two groups. The first includes statutes stating

that CMS may set “standards,” “criteria,” or “requirements” for certain facilities.2 But those laws

do not connect the referenced standards, criteria, or requirements to vaccines specifically or even

to health or safety in general. See Compl. ¶¶ 136–39, 143. By their own terms, then, they do not

remotely authorize a vaccine mandate.

       The second group includes statutes indicating that CMS may create rules or conditions




       2
           See 42 U.S.C. § 1396d(h)(1)(B)(i) (governing Psychiatric Residential Treatment
Facilities (“PRTFs”) and mentioning “standards as may be prescribed in regulations by the
Secretary”); 42 U.S.C. § 1396d(d)(1) (governing Intermediate Care Facilities for Individuals with
Intellectual Disabilities (“ICFs-IID”) and mentioning “standards as may be prescribed by the
Secretary”); 42 U.S.C. § 1395i–4(e) (governing Critical Access Hospitals (“CAHs”) and
mentioning “criteria as the Secretary may require”); 42 U.S.C. § 1395rr(b)(1)(A) (governing End-
Stage Renal Disease (“ESRD”) facilities and mentioning “requirements as the Secretary shall by
regulation prescribe”); 42 U.S.C. § 1395x(iii)(3)(D)(i)(IV) (governing Home Infusion Therapy
(“HIT”) suppliers and mentioning “requirements as the Secretary determines appropriate”).


                                                 25
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 33 of 52 PageID #: 143




concerning the health and safety of the individuals served. Most of these statutes permit regu-

lations that “ensure,” or are “necessary” for, the “health and safety” of patients or recipients of

services,3 while a few generically authorize CMS to adopt health and safety “standards” or

“conditions” without mentioning necessity.4 Though these statutes mention health and safety, they

too fail to authorize vaccine mandates.

       A statute’s surrounding words and sentences inform an agency’s “grant of authority by

illustrating the kinds of measures that could be necessary.” Alabama Ass’n of Realtors, 141 S. Ct.

at 2488. Under “the doctrine of noscitur a sociis,” courts apply the rule that “a word is known by

the company it keeps” to “avoid ascribing to one word” or phrase “a meaning so broad that it is

inconsistent with its accompanying words, thus giving unintended breadth to the Acts of Con-

gress.” Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995) (cleaned up). Surrounding nearly all



       3
          See 42 U.S.C. § 1395eee(f) (addressing Programs of All-Inclusive Care for the Elderly
(“PACE”) facilities and allowing provisions “provisions to ensure the health and safety of
individuals enrolled”); 42 U.S.C. § 1395x(aa)(2)(K) (addressing Rural Health Clinics (“RHCs”)
and mentioning “requirements as the Secretary may find necessary in the interest of the health and
safety of the individuals who are furnished services”); 42 U.S.C. § 1395x(ff)(3)(B) (addressing
Community Mental Health Centers (“CMHCs”) and mentioning “conditions as the Secretary shall
specify to ensure . . . the health and safety of individuals being furnished such services”); 42 U.S.C.
§ 1395x(e)(9) (addressing hospitals and mentioning “requirements as the Secretary finds necessary
in the interest of the health and safety of individuals who are furnished services”); 42 U.S.C. §
1395x(dd)(2)(g) (addressing hospices and mentioning “requirements as the Secretary may find
necessary in the interest of the health and safety of the individuals who are provided care and
services”); 42 U.S.C. § 1395x(cc)(2)(J) (addressing Comprehensive Outpatient Rehabilitation
Facilities (“CORFs”) and mentioning “conditions of participation as the Secretary may find
necessary in the interest of the health and safety of individuals who are furnished services”); 42
U.S.C. § 1395i–3(d)(4)(B) (addressing LTC facilities and mentioning “requirements relating to
the health, safety, and well-being of residents . . . as the Secretary may find necessary”); 42 U.S.C.
§ 1396r(d)(4)(B) (same); 42 U.S.C. § 1395x(o)(6) (addressing Home Health Agencies (“HHAs”)
and mentioning “conditions of participation as the Secretary may find necessary in the interest of
the health and safety of individuals who are furnished services”).
        4
          See 42 U.S.C. § 1395k(a)(2)(F)(i) (addressing Ambulatory Surgical Centers (“ASCs”)
and mentioning “health, safety, and other standards”); 42 U.S.C. § 1395x(p) (addressing facilities
that provide outpatient physical therapy and speech-language pathology services and mentioning
“conditions relating to the health and safety of individuals who are furnished services”).


                                                  26
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 34 of 52 PageID #: 144




the health and safety language in the statutes that CMS cites are explicit statutory standards,

conditions, and requirements. Those express conditions, as one statute illustrates, generally add-

ress topics like administrative matters (“maintain[ing] clinical records”), staff qualifications

(nurses must be “licensed”), and the services that the facility provides (“24-hour nursing service”).

See 42 U.S.C. § 1395x(e) (listing conditions for hospitals).

       Yet those kinds of requirements are entirely unlike vaccine mandates in at least three ways.

First, vaccines seek to safeguard patients by keeping staff members from getting sick in the first

instance. Second, vaccines require staff members to submit to a personal medical intervention.

Third, as CMS acknowledges, vaccines entail some risks of “[s]erious adverse reactions” to staff

members even though “they are rare.” 86 Fed. Reg. at 61,565. No other statutory condition

expressly listed in CMS’s statutes exhibits any, much less all, of these characteristics. Because

vaccine mandates differ in kind (and not merely degree) from the statutory conditions, CMS’s

cited statutes do not afford the vast power the agency claims.

       Finally, reading these statutes to give CMS the authority to mandate vaccines throughout

the healthcare field would create a serious nondelegation problem. The nondelegation doctrine

requires Congress to “lay down by legislative act an intelligible principle to which the person or

body authorized to fix such rates is directed to conform.” Panama Ref. Co. v. Ryan, 293 U.S. 388,

429–30 (1935). But if nondescript language about health and safety requirements is so broad that

it allow CMS to mandate vaccines, the intelligible principle that precedent demands is nowhere to

be found. For all these reasons, CMS exceeded its statutory authority in adopting its mandate.

               2.      The Mandate conflicts with 42 U.S.C. § 1395 by authorizing CMS
                       officials to control the selection of healthcare workers.

       The CMS vaccine mandate not only exceeds the agency’s lawful authority but also violates

a provision in the Social Security Act. That statute—42 U.S.C. § 1395—states:



                                                 27
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 35 of 52 PageID #: 145




       Nothing in [Title 18 of the Social Security Act] shall be construed to authorize any
       Federal officer or employee to exercise any supervision or control over the practice
       of medicine or the manner in which medical services are provided, or over the
       selection, tenure, or compensation of any officer or employee of any institution,
       agency, or person providing health services; or to exercise any supervision or
       control over the administration or operation of any such institution, agency, or
       person.

42 U.S.C. § 1395 (emphases added). The CMS vaccine mandate violates 42 U.S.C. § 1395 because

it authorizes federal officials at CMS to exercise “supervision” and “control” over the “selection”

and “tenure” of employees (including state employees) and other persons “providing health

services.” Id. It does so by prohibiting covered healthcare facilities from hiring unvaccinated

employees and forcing those facilities to terminate—and thus end the “tenure” of—unvaccinated

employees. Id. In addition, CMS’s mandate violates this statute because it authorizes CMS

officials to exercise “supervision” and “control” over the “administration” and “operation” of

institutions, agencies, and persons that provide health services (including state facilities and

employees). Id. Indeed, the mandate controls the administration and operation of these institutions

by dictating their hiring and firing policies. Thus, CMS’s actions conflict directly with the plain

meaning of 42 U.S.C. § 1395 and are not in accordance with law.

       C.      The CMS Vaccine Mandate Unconstitutionally Infringes on the Authority of
               the States and Exceeds Congress’s Enumerated Powers.

       “[E]ven in a pandemic, the Constitution cannot be put away and forgotten.” Roman Cath.

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 68 (2020). The Constitution “leaves to the several

States a residuary and inviolable sovereignty, reserved explicitly to the States by the Tenth Amend-

ment.” New York v. United States, 505 U.S. 144, 188 (1992) (cleaned up). As that Amendment

says, “[t]he powers not delegated to the United States by the Constitution, nor prohibited by it to

the States, are reserved to the States respectively, or to the people.” U.S. Const. amend. X.

       As already discussed, “the police power of a state” includes the authority to adopt



                                                28
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 36 of 52 PageID #: 146




regulations seeking to “protect the public health,” including the topic of mandatory vaccination.

Jacobson, 197 U.S. at 24–25. The States “did not surrender” these powers “when becoming . . .

member[s] of the Union.” Id. at 25. Thus, in our constitutional order, “[t]he safety and the health

of the people . . . are, in the first instance, for [the States] to guard and protect.” Id. at 38. To the

extent that health measures like vaccine mandates “can be [implemented] by any government, they

depend, primarily, upon such action as the state, in its wisdom, may take.” Id.

        By seeking to impose its vaccine mandate on millions of state and private healthcare

workers, CMS is arrogating to itself powers that belong to the States. CMS admits that it never

before has attempted to mandate vaccines on state or private employees. 86 Fed. Reg. at 61,568

(“[W]e have not, until now, required any health care staff vaccinations”). Often “the most telling

indication of a severe constitutional problem is the lack of historical precedent” for it. NFIB v.

Sebelius, 567 U.S. 519, 549 (2012). That is certainly true here.

        Confirming the Tenth Amendment violation, nothing in the Constitution gives the federal

government the power CMS seeks to exercise. While Congress has Spending Clause authority,

U.S. Const. art. I, § 8, cl. 1, that power does not support the CMS mandate for two reasons.

        First, the federal government cannot use Congress’s spending power to “commandeer[] a

State’s . . . administrative apparatus for federal purposes,” NFIB, 567 U.S. at 577, or “conscript

state [agencies] into the national bureaucratic army,” id. at 585; see also Printz v. United States,

521 U.S. 898, 926, 933 (1997) (explaining that Congress “may not compel the States to . . .

administer a federal regulatory program,” and holding that Congress cannot require state officials

to conduct a background check on prospective gun purchasers). But that is exactly what CMS has

done—forcing “State surveyors” to enforce the mandate by verifying healthcare providers’

compliance with it. 86 Fed. Reg. at 61,574. If States instruct their surveyors not to enforce the




                                                   29
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 37 of 52 PageID #: 147




mandate, that will disqualify Medicare- and Medicaid-certified providers and suppliers in their

States. Kahl Decl. ¶ 12 (Ex. Q). Forcing States to administer the mandate or jeopardize all

Medicare and Medicaid funds flowing into their States (even to private healthcare providers) is “a

gun to the head” that compels States to participate against their will. NFIB, 567 U.S. at 581.

       It is not only state surveyors that must enforce the vaccine mandate; it is also the state

officials who run state-run healthcare facilities. Those officials now must demand that their

employees get vaccinated and fire them if they demur. They have become administrators of this

federal COVID-19 mandate. Nor is it possible for all the state-run health facilities in the Plaintiff

States to immediately forego all Medicare and Medicaid funding. That money often amounts to a

substantial percentage of a facility’s annual budget. See, e.g., Huhn Decl. ¶ 22 (Ex. J) (89% of the

Missouri Department of Mental Health’s budget); Kahl Decl. ¶ 10 (Ex. Q) (62% of one state

facility’s expenditures). But States have been given a mere month to either give up all that funding

(and thereby imperil the people served by those facilities) or submit to this federal strong-arming

by demanding that their employees get vaccinated. Forcing this choice on such an abrupt timeline

is another way in which CMS is compelling the States to enforce this unconstitutional mandate.

       Second, CMS’s claimed statutory authority for its mandate did not provide “clear notice”

to the States that the agency could impose vaccine requirements. See Arlington Cent. Sch. Dist.

Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006). “[W]hen Congress attaches conditions to a

State’s acceptance of federal funds, the conditions must be set out ‘unambiguously.’” Id. (quoting

Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981)). But as explained above, the

relied-upon statutes do not authorize CMS’s unprecedented action, must less did they furnish clear




                                                 30
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 38 of 52 PageID #: 148




notice of that power. See NFIB, 567 U.S. at 584 (“[T]he spending power . . . does not include

surprising participating States with post-acceptance . . . conditions.”).

       Just as the Spending Clause does not authorize CMS’s mandate, neither does the Comm-

erce Clause. Art. I, § 8, cl. 3. Indeed, the mandate does not “regulate Commerce”—that is, it does

not regulate ongoing commercial activity. Id. Rather, it demands action—in the form of compul-

sory vaccines—from millions of people. NFIB, 567 U.S. at 555 (“The Framers gave Congress the

power to regulate commerce, not to compel it”). But the Commerce Clause is not a license to act

“whenever enough [people] are not doing something the [federal] Government would have them

do.” Id. at 553. Much like Congress lacks authority under the Commerce Clause to directly

mandate the purchase of personal health insurance, so also it lacks authority to directly mandate

vaccination. See id. Moreover, Defendants’ mandate does not merely require activities in the

workplace; it intrudes upon a deeply personal health decision that transcends commerce and work

issues. “Any police power to regulate individuals as such, as opposed to their activities, remains

vested in the States” and has not been given to the federal government. Id. at 557. Defendants

have thus exceeded their authority by attempting to impose their mandate.

       D.      The CMS Vaccine Mandate Violates Procedural Notice-and-Comment and
               State-Consultation Requirements.

       Under the APA, a court must “hold unlawful and set aside agency action” that is “without

observance of procedure required by law.” 5 U.S.C. § 706(2)(D). The APA requires federal agen-

cies to publish “notice of proposed rule making . . . in the Federal Register” and then “give inter-

ested persons an opportunity to participate in the rule making through submission of written data,

views, or arguments.” 5 U.S.C. § 553(b)–(c). The Social Security Act similarly requires CMS to

“provide for notice of [a] proposed regulation in the Federal Register and a period of not less than

60 days for public comment thereon.” 42 U.S.C. § 1395hh(b)(1).



                                                 31
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 39 of 52 PageID #: 149




       Before promulgating its vaccine mandate, CMS admittedly did not publish notice of pro-

posed rulemaking in the Federal Register or give all interested members of the public an

opportunity to comment. Thus, the agency violated the governing notice-and-comment require-

ments unless it showed “good cause” that those procedural regularities “are impracticable, unne-

cessary, or contrary to the public interest” under the circumstances. 5 U.S.C. § 553(b)(B) (APA);

42 U.S.C. § 1395hh(b)(2)(C) (incorporating 5 U.S.C. § 553(b)(B) into the Social Security Act).

But CMS failed to demonstrate that “good cause” excuses its procedural failures.

       “The burden is on the agency to establish that notice and comment need not be

provided.” Nat. Res. Def. Council v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95, 113–14

(2d Cir. 2018). “[J]udicial review of a rule promulgated under an exception to the APA’s notice-

and-comment requirement must be guided by Congress’s expectation that such exceptions will be

narrowly construed and only reluctantly countenanced.” Nw. Airlines, Inc. v. Goldschmidt, 645

F.2d 1309, 1321 (8th Cir. 1981) (citation omitted). “The public interest prong of the good cause

exception is met only in the rare circumstance when ordinary procedures—generally presumed to

serve the public interest—would in fact harm that interest.” Mack Trucks, Inc. v. E.P.A., 682 F.3d

87, 95 (D.C. Cir. 2012).

       Under these circumstances, notice-and-comment procedures would not have harmed the

public interest. Far from it. Those procedural requirements would have created a vital forum for

States, healthcare providers, and healthcare workers to submit critical information showing that

the CMS vaccine mandate portends disaster for the healthcare industry, particularly in rural

communities. This is one of the key purposes that notice-and-comment procedures serve. See

Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1259

(D.C. Cir. 2005) (recognizing that the purpose of the procedural requirements is “to give affected




                                               32
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 40 of 52 PageID #: 150




parties an opportunity to develop evidence in the record to support their objections” and “ensure

that agency regulations are tested via exposure to diverse public comment”). By dispensing with

those requirements, CMS plugged its ears and ignored the mountain of evidence showing that the

mandate threatens devastating consequences to healthcare providers throughout the nation.

       CMS purported to find “good cause to waive notice of proposed rulemaking” because it

supposedly “would be impracticable and contrary to the public interest . . . to undertake normal

notice and comment procedures.” 86 Fed. Reg. at 61,586. Though CMS mentioned the alleged

impracticability of fulfilling notice-and-comment requirements, the focus of its reasoning was on

the public interest. CMS offered two different groups of justifications, but neither suffices.

       First, CMS’s good-cause discussion spills much ink rehashing its justifications for the

mandate itself—reasons such as the efficacy of the COVID-19 vaccines, CMS’s displeasure with

current “levels of vaccination based on voluntary efforts,” and “FDA’s full licensure of the Pfizer-

BioNTech’s Comirnaty vaccine.” Id. at 61,584. But it is not enough under the good-cause

standard to recite the reasons for the rule itself; the agency must “point to something specific that

illustrates a particular harm that will be caused by the delay required for notice and comment.”

United States v. Brewer, 766 F.3d 884, 890 (8th Cir. 2014) (citation omitted). These general

reasons thus do not advance CMS’s good-cause argument.

       Second, CMS places much weight on “[t]he emergence of the Delta variant” in May and

June 2021. 86 Fed. Reg. at 61,583; see also id. at 61,584 (mentioning “Delta-variant-driven

surging case counts beginning in summer 2021”). But CMS undermines that reason when it

acknowledges that “newly reported COVID-19 cases, hospitalizations, and deaths have begun to

trend downward at a national level.” Id. at 61,583. CMS nonetheless claims, without citing any

support, that “there are emerging indications of potential increases” in case counts arising in




                                                 33
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 41 of 52 PageID #: 151




“northern states where the weather has begun to turn colder.” Id. at 61,584. CMS’s undocumented

and unexplained pronouncement of “emerging indications” cannot carry the day.

       CMS also raises its concern that “the 2021–2022 influenza season” will soon begin. Id.

Yet the agency simultaneously concedes that “the intensity of the upcoming 2021–2022 influenza

season cannot be predicted” and that “influenza activity during the 2020–2021 season was low

throughout the U.S.” Id. Moreover, one would naturally assume that the onset of the flu season

would be a reason to avoid critical staffing shortages at healthcare facilities for underserved

communities—not to exacerbate them. For a “risk of future harm” to “justify a finding of good

cause,” the “risk must be more substantial than a mere possibility.” Brewer, 766 F.3d at 890.

Because CMS’s influenza concerns raise no more than a “mere possibility” of harm, they are

insufficient to establish good cause.

       Another consideration further weakens CMS’s good-cause claim: the agency’s professed

need to immediately implement the rule is “undermined” by its own “delay in promulgating the

[IFC].” Id. President Biden announced the CMS mandate nearly two months before the agency

released it. That delay hardly suggests a situation so dire that CMS may dispense with notice-and-

comment procedures and the important purposes they serve.

       Not only did CMS violate notice-and-comment requirements under the APA and Social

Security Act, it also flouted the statutory obligation to “consult with appropriate State agencies”

before issuing rules like this. The relevant statute—42 U.S.C. § 1395z—provides that “the

Secretary shall consult with appropriate State agencies . . . and may consult with appropriate local

agencies” when “carrying out his functions, relating to determination of conditions of participation

by providers of services, under subsections (e)(9), (f)(4), (j)(15), (o)(6), (cc)(2)(I), and[] (dd)(2),

and (mm)(1) of section 1395x of this title, or by ambulatory surgical centers under section




                                                  34
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 42 of 52 PageID #: 152




1395k(a)(2)(F)(i) of this title.” This statute gives the States a direct procedural interest in being

consulted before decisions such as this.

       The statute applies to CMS’s mandate because this agency action purports to establish

“conditions of participation” for many of the referenced “providers of services.” These include

hospitals under 42 U.S.C. § 1395x(e)(9), long-term-care facilities (also known as skilled nursing

facilities) under 42 U.S.C. § 1395x(j) and 42 U.S.C. § 1395i–3, Home Health Agencies (“HHAs”)

under 42 U.S.C. § 1395x(o)(6), Comprehensive Outpatient Rehabilitation Facilities (“CORFs”)

under 42 U.S.C. § 1395x(cc)(2), hospices under 42 U.S.C. § 1395x(dd)(2), Critical Access

Hospitals (“CAHs”) under 42 U.S.C. § 1395x(mm)(1) and 42 U.S.C. § 1395i–4(e), and

Ambulatory Surgical Centers (“ASCs”) under 42 U.S.C. § 1395k(a)(2)(F)(i).

       CMS admitted that it did not comply with the requirement to “consult with appropriate

State agencies.” 86 Fed. Reg. at 61,567. By failing to seek that input before issuing the mandate,

CMS violated 42 U.S.C. § 1395z.

       CMS counters that it has not violated the statute because it “intend[s] to engage in consulta-

tions with appropriate State agencies . . . following the issuance of th[e] rule.” 86 Fed. Reg. at

61,567. This position is baseless. The statute plainly requires that the consultation with States

occur before a rule is issued. Consultation after a rule is finalized is essentially meaningless—

allowing the States to discuss a fait accompli. Accordingly, the statute’s text demands the

consultation when the Secretary is “carrying out his functions[] relating to determination of

conditions of participation by providers of services.” 42 U.S.C. § 1395z. The Secretary, via CMS,

already made the determination that the vaccine mandate should be a condition of participation. It

was at that time CMS was required to consult with the States. Indeed, the whole purpose of this

consultation requirement is to enable States, which are so intimately involved with and affected




                                                 35
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 43 of 52 PageID #: 153




by these Medicare and Medicaid rules, to provide the agency critical information that it might be

ignoring. Allowing this to occur after the rule takes effect defeats the point. Since CMS did not

consult with the States ahead of time, the agency ran afoul of 42 U.S.C. § 1395z.

       E.        CMS Failed to Prepare the Regulatory Impact Analysis Required Under 42
                 U.S.C. § 1302.

       CMS violated another mandatory obligation when it failed to prepare a regulatory impact

analysis (“RIA”) under 42 U.S.C. § 1302. That statute requires that whenever the Secretary

publishes a rule—and, therefore, “publishes a general notice of proposed rulemaking”—“that may

have a significant impact on the operations of a substantial number of small rural hospitals, the

Secretary shall prepare and make available for public comment an initial regulatory impact

analysis.” 42 U.S.C. § 1302(b)(1) (emphases added).

       Congress’s use of the word “shall” in statutes indicates mandatory action. “The first sign

that the statute impose[s] an obligation is its mandatory language: ‘shall.’” Maine Cmty. Health

Options v. United States, 140 S. Ct. 1308, 1320 (2020). “Unlike the word ‘may,’ which implies

discretion, the word ‘shall’ usually connotes a requirement.” Id. (citation omitted). This explains

why courts in the Eighth Circuit have construed § 1302(b)(1)’s use of the word “shall” as a require-

ment. See Ashley Cty. Med. Ctr. v. Thompson, 205 F. Supp. 2d 1026, 1067 (E.D. Ark. 2002)

(“[T]he Social Security Act provides that when HHS publishes a proposed rule under the Medicaid

statute that may have a significant impact on the operations of a substantial number of rural

hospitals, HHS must prepare a regulatory impact analysis.”) (emphasis added) (citing 42 U.S.C.

§ 1302(b)(1)).

       It is indisputable that § 1302(b)(1) applies to the CMS vaccine mandate because CMS’s

cited statutory authority falls under Titles 18 and 19 of the Social Security Act. 86 Fed. Reg. at

61,567. It’s also indisputable that the IFC would cover small rural hospitals located in the Plaintiff



                                                 36
 Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 44 of 52 PageID #: 154




States. See id. at 61,613 (defining a “small rural hospital” as one “located outside of a metropolitan

statistical area and has fewer than 100 beds”); Bruntz Decl. ¶ 4 (Ex. W); Tobler Decl. ¶ 2 (Ex. G).

And it’s also indisputable that the mandate will—not just “may”—have a significant impact on the

operations of a substantial number of small rural hospitals. See Statement of Facts, supra, at § E.

The plain language of § 1302(b)(1) does not require certainty of a significant impact; it merely

requires possibility. The evidence the Plaintiff States have submitted readily meets that standard:

The CMS vaccine mandate threatens to exacerbate already devastating shortages in healthcare

staffing by forcing small rural hospitals to terminate their unvaccinated workers. That, in turn,

will compel those hospitals to close certain divisions, cancel certain services, or shutter altogether.

Eggleston Decl. ¶¶ 16–17 (Ex. L); Mazanec Decl. ¶ 14 (Ex. R).

       These dire consequences stretch across rural America, and their collective force required

CMS to prepare a regulatory impact analysis—something it failed to do. That critical procedural

step would have forced CMS to “describe”—and thus address—“the impact of the proposed rule”

on the Plaintiff States’ small rural hospitals. 42 U.S.C. § 1302(b)(1). Thus, this RIA (along with

commentary from key stakeholders) could have helped CMS address “important aspects of the

problem” and consider legitimate reliance interests, as required under the APA. Regents, 140 S.

Ct. at 1910, 1913. But CMS did not do that. And just as CMS’s failure to comply with the APA’s

notice-and-comment requirements was “prejudicial error,” so too was its “complete failure” to

prepare a regulatory impact analysis under § 1302(b)(1). Brewer, 766 F.3d at 890–91 (cleaned

up). For these reasons, CMS violated 42 U.S.C. § 1302(b)(1).

II.    The Balancing of Harms and the Public Interest Support an Injunction.

       The remaining preliminary-injunction factors include “(2) the threat of irreparable harm to

the movant in the absence of relief; (3) the balance between that harm and the harm that the relief




                                                  37
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 45 of 52 PageID #: 155




would cause to other litigants; and (4) the public interest.” Watkins, Inc., 346 F.3d at 44. These

factors also favor the States.

       A.      The States Face Irreparable Harm to Their Sovereign, Quasi-Sovereign, and
               Proprietary Interests.

       Without an injunction, the States will suffer irreparable harm to their sovereign, quasi-

sovereign, and proprietary interests. These injuries not only establish irreparable harm but also

demonstrate why the States have standing to bring their claims.

       First, the States face direct sovereign injuries from CMS’s mandate. As noted above, the

mandate expresses CMS’s intent to preempt any contrary state statute or policy. See Compl. ¶ 121

(collecting cites). If not enjoined, the mandate will supersede all these sovereign state choices.

       This includes numerous statutes and policies of the Plaintiff States. For example, Missouri

has a statute that prohibits public health orders, including vaccine mandates, if they are not

approved by the governing bodies of political subdivisions, Mo. Rev. Stat. § 67.265, and that

statute may be partially preempted if the vaccine mandate goes into effect. CMS’s mandate also

ostensibly preempts an Alaska statute that (1) broadly protects the right to object to COVID-19

vaccines “based on religious, medical, or other grounds” and (2) forbids any person from

“requir[ing] an individual to provide justification or documentation to support the individual’s

decision to decline a COVID-19 vaccine.” 2021 Alaska Sess. Laws ch. 2, § 17 (emphasis added).

Similarly, the mandate purportedly preempts Ark. Code § 20-7-143, which is currently in effect

and prohibits public entities in the State from requiring vaccines, and Ark. Code § 11-5-118, which

will go into effect in January and require that private employees be given a testing option in lieu

of a vaccine mandate.

       Preempting, and thus partially invalidating, duly enacted state statutes inflicts per se

irreparable injury on the States as sovereigns. “Any time” a State is blocked “from effectuating



                                                 38
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 46 of 52 PageID #: 156




statutes enacted by representatives of its people, it suffers a form of irreparable injury.” Maryland

v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citing New Motor Vehicle Bd.

of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)). In other

words, when a State is blocked from implementing its statutes, “the State necessarily suffers the

irreparable harm of denying the public interest in the enforcement of its law.” Planned Parenthood

of Greater Texas Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th Cir. 2013); Coalition

for Economic Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997).

        Second, the States face irreparable injuries to their quasi-sovereign or parens patriae

interests in protecting substantial segments of their population. The Supreme Court has recognized

that each State has “a quasi-sovereign interest in the health and well-being—both physical and

economic—of its residents in general.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,

458 U.S. 592, 607 (1982). This quasi-sovereign interest arises when a defendant’s conduct

threatens harm to a “sufficiently substantial segment of [a State’s] population,” especially where

the “injury to the health and welfare of [the State’s] citizens . . . is one that the State, if it could,

would likely attempt to address through its sovereign lawmaking powers.” Id. As noted above,

several States have already enacted statutes to protect their citizens from vaccine mandates.

        The States’ quasi-sovereign interests manifest themselves in at least two ways. More

broadly, the States seek to maintain the viability of healthcare providers within their borders. But

the CMS mandate threatens to cripple healthcare in the States (especially in rural areas), create a

critical shortage of services, and jeopardize the lives and wellbeing of vulnerable citizens. All this

easily constitutes irreparable harm. See Kai v. Ross, 336 F.3d 650, 656 (8th Cir. 2003) (“danger

to plaintiffs’ health, and perhaps even their lives, gives them a strong argument of irreparable

injury”). In addition, the States are home to tens of thousands of healthcare workers who are now




                                                   39
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 47 of 52 PageID #: 157




forced to accept an unwanted medical intervention or give up their livelihood. Illustrating the

irreparable harm to these workers, the mere announcement of CMS’s mandate has already com-

pelled some to resign. Shackett Decl. ¶ 8 (Ex. Z).

       Third, the States face irreparable injury to their proprietary interests. Those harms are

readily apparent when the States operate their own healthcare facilities. They are forced to impose

the CMS mandate on their own employees, and the resulting compliance costs, labor losses,

disruptions in day-to-day operations, and decreased revenue from turning away patients are all

irreparable injuries. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220–21 (1994) (Scalia,

J., concurring) (“[A] regulation later held invalid almost always produces the irreparable harm of

nonrecoverable compliance costs.”). Irreparable injury to further proprietary interests also occurs

when States direct their surveyors to spend time and resources “assess[ing] compliance” with the

vaccine mandate by “reviewing . . . records of staff vaccinations,” “interview[ing] staff to verify

their vaccination status,” and “cit[ing] providers and suppliers when noncompliance is identified.”

86 Fed. Reg. at 61,574. In addition, States will incur irreparable pocketbook harm in the form of

(1) lost tax revenue because of reduced healthcare services in the States and (2) a diversion of state

resources to supply “State immunization” records to healthcare providers needing to document

staff vaccination status. Id. at 61,572. All these irreparable harms show why the Plaintiff States

need immediate relief.

       B.      The Balance of Harms and The Public Interest Support an Injunction.

       When the party opposing the injunction is the federal government, the balance-of-harms

factor “merge[s]” with the public-interest factor. Nken v. Holder, 556 U.S. 418, 436 (2009). That

balance weighs heavily in the States’ favor. On the one hand, as explained above, the States stand

to suffer all sorts of irreparable harms absent an injunction. But on the other hand, an order




                                                 40
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 48 of 52 PageID #: 158




preventing CMS from enforcing its unlawful mandate will inflict no cognizable injury on the

agency because government officials “do[] not have an interest in the enforcement of an

unconstitutional law.” N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013).

Similarly, the public interest supports an injunction because “[t]here is generally no public interest

in the perpetuation of unlawful agency action.” League of Women Voters of United States v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016).

       The mandate’s anticipated adverse impact on the healthcare worker shortage also shows

that the public interest calls for an injunction. The Plaintiff States have shown that many

healthcare providers, particularly in rural areas, will be forced to fire desperately needed workers,

cancel vital services, and even shut down completely. See Eggleston Decl. ¶¶ 16–17 (Ex. L);

Mazanec Decl. ¶ 14 (Ex. R); Bruntz Decl. ¶¶ 14–16 (Ex. W); Naiberk Decl. ¶ 14 (Ex. M). All that

directly harms the patients they serve and public health interests in their communities. See

Eggleston Decl. ¶¶ 16–17 (Ex. L); McNea Decl. ¶ 11 (Ex. S); Bruntz Decl. ¶ 15 (Ex. W);

Monheiser Decl. ¶¶ 7, 9 (Ex. V); Shackett Decl. ¶ 9 (Ex. Z); Cyboron Decl. ¶ 16 (Ex. K) (“This

mandate will . . . create disparities in care quality and access here in our rural community.”); Petik

Decl. ¶ 15 (Ex. O) (“[The hospital] will be put in an almost impossible position to provide the

same level and quality of services” as before). Given the interconnectedness of the healthcare

industry, service reductions in one facility will place added burdens on other providers. See Toline

Decl. ¶¶ 9, 14–15 (Ex. Y); Monheiser Decl. ¶ 9 (Ex. V); York Decl. ¶ 13 (Ex. B); McNea Decl. ¶

12 (Ex. S). And the loss of staff will further burden remaining workers and risk driving them out

of their jobs due to burnout. See Mazanec Decl. ¶ 15 (Ex. R); Bruntz Decl. ¶ 16 (Ex. W). The

situation threatens to devolve quickly, absent immediate relief from this Court.




                                                 41
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 49 of 52 PageID #: 159




       The public interest also favors vindicating the traditional balance of power between the

federal government and the States. “[A] healthy balance of power between the States and the

Federal Government will reduce the risk of tyranny and abuse from either front.” Gregory, 501

U.S. at 458. Casting aside these safeguards, CMS seeks to overtake an area of traditional state

authority by imposing an unprecedented and oppressive demand to federally dictate the private

medical decisions of millions of Americans. In our nation, the public interest favors federalism,

and it favors freedom. The CMS vaccine mandate should be enjoined.

                                        CONCLUSION

       The Court should grant Plaintiffs’ motion for a preliminary injunction.



DOUGLAS J. PETERSON                         ERIC S. SCHMITT
Attorney General of Nebraska                Attorney General of Missouri

/s/ James A. Campbell                       /s/ Jesus A. Osete
James A. Campbell                           Jesus A. Osete, #69267MO
  Solicitor General                           Deputy Attorney General
Office of the Nebraska Attorney General     Maddie McMillian Green, #73724MO
2115 State Capitol                            Assistant Attorney General for Special Litigation
Lincoln, NE 68509                           Office of the Missouri Attorney General
(402) 471-2682                              Post Office Box 899
Jim.Campbell@nebraska.gov                   Jefferson City, MO 65102
Counsel for Plaintiffs                      (573) 751-1800
                                            Jesus.Osete@ago.mo.gov
                                            Counsel for Plaintiffs

                              Additional counsel on the next page




                                               42
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 50 of 52 PageID #: 160




LESLIE RUTLEDGE                           DEREK SCHMIDT
Attorney General of Arkansas              Attorney General of Kansas
/s/ Dylan L. Jacobs                       /s/ Kurtis Wiard
Dylan L. Jacobs                           Kurtis Wiard
  Assistant Solicitor General               Assistant Solicitor General
Office of the Arkansas Attorney General   Office of the Kansas Attorney General
323 Center St., Suite 200                 120 SW 10th Avenue, 2nd Floor
Little Rock, AR 72201                     Topeka, Kansas 66612
(501) 682-2007                            Tel: (785) 296-2215
Dylan.Jacobs@arkansasag.gov               Fax: (785) 296-6296
Counsel for the State of Arkansas         E-mail: kurtis.wiard@ag.ks.gov
                                          Counsel for the State of Kansas

JEFFREY S. THOMPSON                       BRIDGET HILL
Solicitor General                         Wyoming Attorney General
/s/ Samuel P. Langholz                    /s/ Ryan Schelhaas
Samuel P. Langholz                        Chief Deputy Attorney General
  Assistant Solicitor General             Wyoming Attorney General’s Office
Office of the Iowa Attorney General       109 State Capitol
1305 E. Walnut Street                     Cheyenne, WY 82002
Des Moines, Iowa 50319                    Telephone: (307) 777-5786
(515) 281-5164                            ryan.schelhaas@wyo.gov
jeffrey.thompson@ag.iowa.gov              Counsel for the State of Wyoming
sam.langholz@ag.iowa.gov
Counsel for the State of Iowa


TREG R. TAYLOR                            JASON R. RAVNSBORG
Attorney General of Alaska                South Dakota Attorney General
/s/ Cori Mills                            /s/ David M. McVey
Cori M. Mills                             David M. McVey
  Deputy Attorney General of Alaska         Assistant Attorney General
Alaska Department of Law                  1302 E. Highway 14, Suite 1
1031 W. 4th Avenue, Suite 200             Pierre, SD 57501-8501
Anchorage, AK 99502                       Phone: 605-773-3215
(907) 269-5100                            E-Mail: david.mcvey@state.sd.us
Cori.Mills@alaska.gov                     Counsel for the State of South Dakota
Counsel for the State of Alaska




                                            43
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 51 of 52 PageID #: 161




WAYNE STENEHJEM                         JOHN M. FORMELLA
Attorney General of North Dakota        New Hampshire Attorney General
/s/ Matthew A. Sagsveen                 /s/ Anthony J. Galdieri
Matthew A. Sagsveen                     Anthony J. Galdieri
  Solicitor General                       Solicitor General
State Bar ID No. 05613                  NEW HAMPSHIRE DEPARTMENT OF JUSTICE
Office of Attorney General              33 Capitol Street
500 North 9th Street                    Concord, NH 03301
Bismarck, ND 58501-4509                 Tel: (603) 271-3658
Telephone (701) 328-3640                Anthony.J.Galdieri@doj.nh.gov
Facsimile (701) 328-4300                Counsel for State of New Hampshire
masagsve@nd.gov
Counsel for the State of North Dakota




                                         44
Case: 4:21-cv-01329-MTS Doc. #: 9 Filed: 11/12/21 Page: 52 of 52 PageID #: 162




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 12, 2021, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system and to be served on those

parties that have not appeared who will be served in accordance with the Federal Rules of Civil

Procedure by mail or other means agreed to by the party.

                                                              /s/ Jesus A. Osete
                                                              Counsel for Plaintiffs




                                                 45
